
Essential Health Chiropractic, P.C., as Assignee of Mariana Valerio, Appellant,
againstGEICO Insurance Company, Respondent.




The Law Office of Gregory A. Goodman, P.C. (Gregory A. Goodman, Esq.), for appellant.
Short &amp; Billy, P.C. (Skip Short, Esq.), for respondent.

Appeal from an order of the District Court of Suffolk County, Fourth District (James F. Matthews, J.), dated January 26, 2016. The order, in a proceeding pursuant to CPLR article 75 to vacate a master arbitrator's award dated July 17, 2015 in which GEICO Insurance Company cross-petitioned to confirm the master arbitrator's award, denied the petition and granted the cross petition.




ORDERED that the order is affirmed, without costs.
Petitioner commenced this proceeding pursuant to CPLR article 75 to vacate a master arbitrator's award, dated July 17, 2015 which upheld the award of an arbitrator, rendered pursuant to Insurance Law § 5106 (b), denying petitioner's claims to recover assigned first-party no-fault benefits. GEICO Insurance Company cross-petitioned to confirm the master arbitrator's award. The District Court denied the petition and granted the cross petition.
Upon a review of the record, we find that the determination of the master arbitrator had a rational basis and was not arbitrary, capricious, or contrary to settled law (see Matter of Motor Veh. Acc. Indem. Corp. v Aetna Cas. &amp; Sur. Co., 89 NY2d 214 [1996]; Matter of Petrofsky [Allstate Ins. Co.], 54 NY2d 207 [1981]; Matter of Shand [Aetna Ins. Co.], 74 AD2d 442 [1980]). Consequently, the District Court properly denied the petition to vacate the master [*2]arbitrator's award and granted the cross petition to confirm the award.
Accordingly, the order is affirmed.
We note that a special proceeding should terminate in a judgment, not an order (see CPLR 411).
MARANO, P.J., TOLBERT and GARGUILO, JJ., concur.
ENTER:
Paul Kenny
Chief Clerk
Decision Date: August 17, 2017










